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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                  )      CASE NO. 1:07CR322
                                           )
              PLAINTIFF                    )      JUDGE PETER C. ECONOMUS
                                           )
       V.                                  )
                                           )
JOHN JENKINS ,                             )      MEMORANDUM OPINION
                                           )      AND ORDER
              DEFENDANTS.                  )
                                           )


       This matter is before the Court upon Magistrate Judge Limbert’s Report and

Recommendation that the Court ACCEPT Defendant John Jenkins’ (“Defendant”) plea

of guilty and enter a finding of guilty against Defendant. (Dkt. # 37).

       On May 30, 2007, the government filed an indictment against John Jenkins,

Darcie John, Myron McDevitt, and Loretta Martino. (Dkt. #1). On August 29, 2007,

this Court issued an order assigning this case to Magistrate Judge George J. Limbert for

the purpose of receiving a guilty plea from Defendant. (Dkt. # 35).

       On September 4, 2007, a hearing was held in which Defendant entered a plea of

guilty to Count 1 of the indictment. Magistrate Judge Limbert received the Defendant’s

guilty plea and issued a Report and Recommendation (“R&R”) recommending that this

Court accept the plea and enter a finding of guilty. (Dkt. # 37).

       Neither party objected to the Magistrate Judge’s R&R in the ten days after it was
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issued.

          On de novo review of the record, the Magistrate Judge’s R&R is adopted. The

Defendant was found to be competent to enter a plea. The Defendant understood her

constitutional rights. She is aware of the consequences of entering a plea. There is an

adequate factual basis for the plea. The Court finds that the plea was entered

knowingly, intelligently, and voluntarily. The Defendant’s plea of guilty is approved.

          Therefore, the Defendant is adjudged guilty of Count 1 in violation of 18 U.S.C.

§§ 513(a) and 2. The sentencing will be held on December 4, 2007 at 1:30 p.m.

          IT IS SO ORDERED.

                                      /s/ Peter C. Economus - September 21, 2007
                                      PETER C. ECONOMUS
                                      UNITED STATES DISTRICT JUDGE
